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AO 442 (Rev 01/09) Arrest Warrant \6 \S 6 ZL

UNITED STATES DISTRICT COURT

for the
pee Toone a District of Columbia
United States of America
v. ) Case: 1:23-cr-00109
eae Assigned to: Chief Judge James E. Boasberg
) Assign Date: 4/4/2023
) Description: INDICTMENT (B}
Defendant
ARREST WARRANT
To: — Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fname of person to be arrested} QUANTE WIGGINS
who is accused of an offense or violation based on the following document filed with the court:

@% Indictment  Superseding Indictment © Information © Superseding Information © Complaint
O Probation Violation Petition © Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 922(g)(1}Unlawfu! Possession of a Firearm and Ammunition by a person Convicted of a Crime Punishable by
Imprisonment for a Term Exceeding One Year; 21 U.S.C. § 841(a)(1) and § 841(b)(1}(C)-Unlawful Possession with Intent
to Distribute a Mixture and Substance Containing a Detectable Amount of Cocaine Base; 21 U.S.C. § 860(a}-Unlawful
Possession with Intent to Distribute a Mixture and Substance Containing a Detectable Amount of Cocaine Base Within
1000 Feet of a School; 18 U.S.C. § 924(c}(1)(A)(i}-Using, Carrying and Possessing a Firearm During a Drug Trafficking

Off
‘ense R bi M Digitally signed by Robin
obIn * M. Meriweather
Date: 2023.04.04

Meriweather 161409 .0400

issuing afficer's signature

Date: 04/04/2023

City and state: | Washington, DC ROBIN M. MERIWEATHER, U.S. Magistrate Judge

Printed name and title

 

Return

This warrant was received on (date) 4 / ja 4 O¢ 3, and the person was arrested on (date) _§ 44 | Laz

at (city and state) 5 é Oa

Date: gf asl] 2.083 Tugs M.

 

Arresting officer's signature

Trejo M Dus mM

Printed name and title

 

 

 
